                            Case 2:23-cv-00312-TJH-SP Document 1-1 Filed 01/16/23 Page 1 of 4 Page ID #:10
                                                          Exhibit A to the Complaint
Location: Torrance, CA                                                                                    IP Address: 172.114.37.235
Total Works Infringed: 42                                                                                 ISP: Spectrum
 Work      Hashes                                                                UTC              Site           Published    Registered   Registration
 1         Info Hash: B22A7C436E58C0FFA78DF7DFF1FC7CB5B00AAEBB                           01-04-   Blacked        12-30-2022   01-09-2023   PA0002389573
           File Hash:                                                                      2023   Raw
           B22858E0F5E12664E5B713F908BA3A2F90D228F6795CB87A93F54407DD7158E2            07:43:56
 2         Info Hash: CF36F45DF2833E0C4D10621B285785F4078B05CE                           12-28-   Vixen          12-23-2022   01-10-2023   PA0002389606
           File Hash:                                                                      2022
           4A3A50C8A137603AF774B9BE906EE3DE38433461B05B22F5B4FC817E199A4ABC            07:47:51
 3         Info Hash: 102E275F06CD6433699975512D505CCABC08AC65                           12-24-   Tushy          12-18-2022   01-10-2023   PA0002389612
           File Hash:                                                                      2022
           12135BB7D825A793CAEBAE9DD71A7DEF7964928EFC8476214BD93F1CB090D0A9            06:26:04
 4         Info Hash: 5D3CD90A21CF1BA66183CA47D9CA49B30D3C19CA                           11-30-   Blacked        11-25-2022   12-11-2022   PA0002384771
           File Hash:                                                                      2022   Raw
           2A130AF905000D7A6F4CBA401FD8B2412987D1B184DC4D643B1E1DE3007EB952            07:42:43
 5         Info Hash: 59273C2580C92D41695C8A1D890F6F4AB3D63299                           10-23-   Vixen          06-17-2022   06-27-2022   PA0002355040
           File Hash:                                                                      2022
           C0F97DC824E118F0CA0225BB2C6B6E04DD9B1E2F68E10D364DD9F6F24E2E081F            06:54:58
 6         Info Hash: 3EE5D80B448A730C574C386E6930A9712ADFD32F                           10-06-   Blacked        10-01-2022   10-31-2022   PA0002377817
           File Hash:                                                                      2022
           93875F1E92E75E03DEAFE02068F98DD0008C5C7D06713DF84A6BA77923BD38BB            06:48:28
 7         Info Hash: 22222AEDE166BF3D39FC7C44DA767A30B57F0599                           09-23-   Tushy          09-18-2022   10-05-2022   PA0002373759
           File Hash:                                                                      2022
           3F83F477B001B32ADF4A6CE5858AF085B43D96D2B0354FBBF99FC9F2100417C4            06:49:08
 8         Info Hash: AA22F2CD2ED007CE11D1639BA548C9346BDB69AE                           08-22-   Tushy          08-14-2022   08-30-2022   PA0002367744
           File Hash:                                                                      2022
           7DE2E3446F60125E2CD3F7313529FA175A0DDC164323F0861FEEA22CAD059647            05:52:00
 9         Info Hash: 1A76A113C1D33455F6FB4D100985C9DA1974F425                           08-11-   Vixen          07-22-2022   08-30-2022   PA0002367741
           File Hash:                                                                      2022
           3A1FA743DEEE32C83316CCC75083FEBCC7CAAF64D5BE1B92439D792FDBDBA248            02:22:31
 10        Info Hash: A40B0A7D3692916FFA8E12429BA885CB1B7250D3                           08-11-   Tushy          08-07-2022   08-29-2022   PA0002367740
           File Hash:                                                                      2022
           B15DF277602F5F35EB43EEC0A104A338E0B4968BBA24BE23DE2F572F12C5DD4B            02:22:05
 11        Info Hash: B2BD02F85748E9B929C507FF7927035B3DB7D9C3                           08-02-   Vixen          07-29-2022   08-29-2022   PA0002367717
           File Hash:                                                                      2022
           F5512656E2B6581C621ECB4540F947AD22C4D7282DEBB316F0E72005F6943ADC            05:55:07
                      Case 2:23-cv-00312-TJH-SP Document 1-1 Filed 01/16/23 Page 2 of 4 Page ID #:11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: BB349C1293CF3112B08434A0CD6DB65533E540AE                   07-24-   Vixen     07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                              2022
       A0B82E6D979B02C53F6EF85500D6622928A69DB240883DC1978E9B1601CF5FAB    06:01:00
13     Info Hash: E4D5FF974940BB9BE109E06C32B1B451602CA5C8                   07-15-   Tushy     07-10-2022   07-22-2022   PA0002359469
       File Hash:                                                              2022
       C5F8DFC32B7D8EE2BD75BB4F986DA24BEDD0FE8B4456C3D61F20C1F916B40FB2    07:54:46
14     Info Hash: 7904A141CEE0C0AF1E207F32CD1F7997F26B469E                   07-01-   Tushy     06-26-2022   07-22-2022   PA0002359467
       File Hash:                                                              2022
       26942FF6602A2AD102834A5F74E45EEAD6B7FC7890ECD0A25B20E6E7417FDEEF    07:24:23
15     Info Hash: 16617922850097731287FF6D78415BAB4518093D                   06-14-   Tushy     06-12-2022   06-27-2022   PA0002354982
       File Hash:                                                              2022
       EFE8E506427B8ED56EB6E6F75C20485DF65EAB36AA7424130FBC3EA75472D230    07:03:43
16     Info Hash: DF13DBDC5953B38B3E5133F037BCC8E8AF0F468D                   05-19-   Blacked   05-14-2022   05-20-2022   PA0002350380
       File Hash:                                                              2022
       C34BA05DE519722211D78E80F30F1DBCCF669B8F44E350B62FF21AEFD8E95C46    04:43:31
17     Info Hash: D3F024BA551E687B147333701D49D2BBF5E9A45C                   03-24-   Tushy     03-20-2022   03-29-2022   PA0002342842
       File Hash:                                                              2022
       3CD01300DCC2935123FA4FDEC88C3682CA48853D8A4232E1D9F22BBE35B15917    07:21:48
18     Info Hash: D82B3D04FC3C942F5380175F5BD7A953DBFDBE7C                   03-18-   Vixen     01-21-2022   02-14-2022   PA0002335466
       File Hash:                                                              2022
       E18B9AE8F32CC0841E9389E6353EAF180393E302517BFD010DCA54AC172C2E1C    04:42:04
19     Info Hash: AE90C86D911A70368335FF0532A2BF66B9E7FC46                   02-07-   Blacked   02-05-2022   02-14-2022   PA0002335503
       File Hash:                                                              2022
       03B4DBB838FBDADC0EDCC7B7834A86C080469CCDF9136BD723E32D716EF91FBE    06:53:57
20     Info Hash: D4F4CB87CF6C9F5B302AEB41BD1901396245154E                   01-26-   Tushy     01-23-2022   02-14-2022   PA0002335464
       File Hash:                                                              2022
       CB502BFCF04BDAE0BB88F6699859AFE62825B44BC764C9A7EEDE96882721EFA5    07:12:35
21     Info Hash: 2B3A6FB4A574398B97B75729900654F46097C686                   01-19-   Vixen     01-14-2022   03-04-2022   PA0002345789
       File Hash:                                                              2022
       8A4FFA7A1B8F147CFF88E879A3C887B7EFFE7A67837564BCDDC5811D14E45407    07:09:38
22     Info Hash: 6AECD64092F17E9085560DDF13411F5C617EA4B6                   12-03-   Tushy     11-28-2021   02-14-2022   PA0002335497
       File Hash:                                                              2021
       610911B0A03EFBB6F914E6246EC1B563648E7485563C7EF78A4D2655F2D0B9DE    06:50:29
23     Info Hash: B0B73F7A0F68AE2A0BF8B9FA747E49B3D635D382                   11-22-   Tushy     11-07-2021   11-11-2021   PA0002321317
       File Hash:                                                              2021
       572AC2FA53AA57847D04D3147E9003F1DD21A6BDB57EB637CC29D4185D2B09E4    06:13:21
                       Case 2:23-cv-00312-TJH-SP Document 1-1 Filed 01/16/23 Page 3 of 4 Page ID #:12

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: D1E9777E67C9341EDDCA1915A749026CC2307DB6                   10-31-   Tushy     10-24-2021   11-11-2021   PA0002321315
       File Hash:                                                              2021
       21CDED7FB317274770D07E001AB2481E1EA2D946800B7787A59F61272DEF94CD    08:10:25
25     Info Hash: 5EF5E7587779A60CF3BA49CED6EFA0BAA4AE9086                   10-22-   Blacked   10-31-2020   11-24-2020   PA0002265967
       File Hash:                                                              2021
       CCE9ABA0858A8190CAF6D07329F272E63316C702F19E61F27A8B603298B11E7B    06:06:18
26     Info Hash: DB36A63BDF54F82FEB476FC9054466F942B5C14D                   10-14-   Blacked   10-09-2021   10-19-2021   PA0002317059
       File Hash:                                                              2021
       2AC36A6CC2AF4F2EACC724A4295EB5F19809D17B1FE1F4E5E7C96F6486AB66CD    05:50:59
27     Info Hash: 0CC8F28020579F7BB05DFAE555ECAB0C543621D1                   10-14-   Tushy     10-10-2021   12-03-2021   PA0002333661
       File Hash:                                                              2021
       2960204632BA98119BB0A538382063A029165A9C1CFFA8A169FD89DE598ECD4D    05:29:38
28     Info Hash: BE759F6A958267C1A4C7E1B93F63ECB0B0EE0A46                   10-06-   Vixen     05-21-2021   06-03-2021   PA0002299688
       File Hash:                                                              2021
       4CA71F7DF19396D03CFAE2047B41EE8B846297AC0CD7DF5EB885A7BA9879C004    08:01:29
29     Info Hash: 7012EC3C7C413CB0536E00EB1C840A5E26DE92B6                   10-06-   Blacked   07-19-2021   08-23-2021   PA0002308404
       File Hash:                                                              2021   Raw
       049F3318005FAD7775856319649CC208159DFA975FCA1B21A575990FC7B8B882    07:59:25
30     Info Hash: 752E7DEB87A02334B5649EE1FC8F0D941D627158                   08-25-   Tushy     08-19-2021   10-05-2021   PA0002315293
       File Hash:                                                              2021
       71B09A393C031EA3C4E064DF8E2A8D683B27DDB53606D4942CBE12A690354ED8    07:04:31
31     Info Hash: 71D2D29AD1EC84E95C3EC6E1CAEDD6A2595FF48B                   07-19-   Tushy     05-30-2021   06-24-2021   PA0002303168
       File Hash:                                                              2021
       FBBEC96AB34618E8209282048601343DC436F5AA83CAD376ABD85F8CEA28459B    07:06:43
32     Info Hash: BDD8DFE941553C738B3BB2B933B08A37F415084E                   06-12-   Tushy     06-06-2021   06-15-2021   PA0002296921
       File Hash:                                                              2021
       EA779EC9A0B89E90A68B48717EE67C11B782E39F2A183E8A503BE2AF9F448AD5    04:27:37
33     Info Hash: 96B3628EFA7DF33F1BEB4DAD1855B4125CC9F71F                   05-16-   Tushy     04-25-2021   06-09-2021   PA0002295582
       File Hash:                                                              2021
       C73C4EBCF120B06461B10401591AD60A4689546CEC9EF574D1FA2B5FE37D8BAB    07:46:15
34     Info Hash: 4D1E937059E78109E9C929FD10A92D05CBDD6A5B                   04-13-   Tushy     04-11-2021   04-27-2021   PA0002288948
       File Hash:                                                              2021
       6514396893ACE2CFC3D8ACAE8238657C4D235A9126C2AC62859D6FD95ECC0F59    22:05:21
35     Info Hash: D96EA595522F63ADD33B6B3CE85F8FC0AE41B1C2                   03-17-   Tushy     03-14-2021   03-22-2021   PA0002282514
       File Hash:                                                              2021
       EAFDBDE4FE4569DB61BB6DA689D6BCF4048536B068DB2E7F9436198EC61D0413    04:38:04
                       Case 2:23-cv-00312-TJH-SP Document 1-1 Filed 01/16/23 Page 4 of 4 Page ID #:13

Work   Hashes                                                             UTC         Site    Published    Registered   Registration
36     Info Hash: 0D5542068D193F2BB34F2EC1055C36F293AE0BD2                   02-07-   Tushy   01-24-2021   02-26-2021   PA0002283696
       File Hash:                                                              2021
       337F29D4BB8DF63EBF303D179185181E58420067DE0F9B04182060C651D20512    18:33:32
37     Info Hash: 89AA2665D3899885EAEA7F5A2C918A5C0A1E5C5A                   12-27-   Tushy   12-13-2020   12-28-2020   PA0002269085
       File Hash:                                                              2020
       6B7EF1B84F8E2C5A6B7FA99CF3ACD25162F15ECBD3521CF53813B3082486952D    07:43:54
38     Info Hash: A69CFD12CD8781FE5C648DD86E14DCE729F90D65                   12-22-   Tushy   10-18-2020   11-05-2020   PA0002263388
       File Hash:                                                              2020
       56D3EBD1B25C8FB12E0089C9F2477ECFB7CB0E7B0CE59A7DC3CEC4B9BCA5FCF7    08:15:42
39     Info Hash: BF90C6D1B3C85C2F0D54127979837F539D753821                   12-14-   Tushy   12-06-2020   12-28-2020   PA0002269080
       File Hash:                                                              2020
       4F4CE01670E87386E959A04EB6B5BC51679C5F5D9DD0D6226475E2F200FB7172    07:41:02
40     Info Hash: 3191681C58BD7644E78F6498C50CEE6B723C5171                   09-19-   Tushy   09-14-2020   09-29-2020   PA0002258682
       File Hash:                                                              2020
       7273028B35C11CBC3E3D63D233DBC281A469C7D11FDC41F8B4EA97149838ECD5    08:01:41
41     Info Hash: DE2C3995024B4D079497396648B3964395D7F84B                   08-13-   Tushy   08-09-2020   08-31-2020   PA0002265642
       File Hash:                                                              2020
       5165BF04EA47BEA0AE7308E5A2BFB707B6C783D7B7763D8E219062363FCB6F30    06:58:33
42     Info Hash: 009F9C7775B1B08E12B938E7895905234F849C90                   03-04-   Tushy   03-01-2020   04-15-2020   PA0002244962
       File Hash:                                                              2020
       0D295BBD50F5CFBA5900994BA8F45A048390521FD232EC6D662DCD2159635694    05:15:51
